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                            EXHIBIT A
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                                             CAUSE NO. DC-14-04220


CAROL CAVNESS,                                                 §                 IN THE DISTRICT COURT
Plaintiff,                                                     §
                                                               §
v.                                                             §
                                                               §
TERESA KOWALCZYK, M.D.,                                        §
HUNT MEMORIAL HOSPITAL                                         §                 95th JUDICIAL DISTRICT
DISTRICT CHARITABLE HEALTH                                     §
FOUNDATION d/b/a HUNT REGIONAL                                 §
HEALTHCARE FOUNDATION and                                      §
HUNT REGIONAL MEDICAL CENTER                                   §
AT GREENVILLE, BAYLOR                                          §
HEALTHCARE SYSTEM,                                             §
JOHNSON & JOHNSON and ETHICON, INC.,                           §                 DALLAS COUNTY, TEXAS



             PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF
        WITHHELD DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND
              ETHICON, INC. BASED ON ASSERTIONS OF PRIVILEGE

TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW, Plaintiff Carol Cavness, and moves the Court for an in camera inspection

of withheld documents by Defendants Johnson & Johnson and Ethicon, Inc. (collectively,

“Defendants”) based on assertion of privilege, and in support of thereof, respectfully shows the

court as follows:

                                                BACKGROUND

1.         On November 7, 2014, Plaintiff’s counsel requested that Defendants produce a privilege

log pursuant to the Texas Rules of Civil Procedure.1

2.         On November 24, 2014, Defendants produced a privilege log pursuant to the Texas Rules

of Civil Procedure. Contained therein are documents either withheld, or produced and redacted,



1
    See Email from William Blankenship to Carol Traylor and others dated 11/7/14, attached hereto as Exhibit “A.”

                                                          1
PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
BASED ON ASSERTIONS OF PRIVILEGE
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due to asserted privilege. In total, Defendants’ privilege log spans 5,778 pages and encompasses

21,780 documents. The privilege log has not been filed herewith as it is so voluminous, but will

be made available for the Court at any time.

3.         On December 5, 2014, Plaintiff’s counsel requested that defendants produce a subset of

privileged documents for review.2 Defendants failed to respond to the request.

                                         IN CAMERA INSPECTION

4.         Texas Rule of Civil Procedure 193.4(a) allows a party to request a hearing on assertions of

privilege by another party. TEX. R. CIV. P. 193.4(a). In response, the party asserting privilege

must establish a prima facie case for its assertions of privilege by producing evidence (affidavits

or live testimony). Id.; In re Living Ctrs., 175 S.W.3d 253, 261 (Tex. 2005); In re Monsanto Co.,

998 S.W.2d 917, 924-25 (Tex.App.-Waco 1999, orig. proceeding). If a prima facie case for claims

of privilege can be made by the party asserting privilege, documents identified for inspection by

the Court must then be inspected in camera. Id.

5.         Here, Plaintiff has found several assertions of privilege that are concerning. For example,

redactions were made based upon an alleged privilege of “non-responsiveness.” Moreover,

numerous assertions of privilege were made based upon a claim of attorney-client privilege or

attorney work product where an attorney was just “cc’d.” See In re Monsanto Co., 998 S.W.2d at

930 (“We recognize that it might be argued that all communications between corporate

representatives could be claimed as privileged on the basis that ‘the legal department can better

represent us if we keep them informed.’ We reject that assertion. We do not believe that it is

necessary for the legal department to be advised of every development out in the field, no matter

how minute”). Numerous withheld emails and documents involve non-employee third parties,

suggesting an absence of confidentiality and waiver of privilege by Defendants’ conduct. See


2
    See Letter from Tim Goss to Carol Traylor and others dated December 5, 2014, attached hereto as Exhibit “B.”

                                                          2
PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
BASED ON ASSERTIONS OF PRIVILEGE
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Osborne v. Johnson, 954 S.W.2d 180, 184 (Tex.App.-Waco 1997, orig. proceeding) (“[A]ttorney-

client privilege only protects confidential communications…Communications made in the

presence of others who do not qualify as representatives of the client or the lawyer are not

considered confidential”). It is further unclear whether the withheld documents and information

were truly involving legal advice or whether the alleged attorney-client communication really

involved an attorney acting in a business capacity instead of a legal capacity. See SEC v. Brady,

238 F.R.D. 429, 438-39 (N.D. Tex. 2006) (finding that the first fundamental aspect of the attorney-

client privilege is that the communication must have been made for the purpose of obtaining legal

advice, rather than business or other advice, i.e., the lawyer’s primary role cannot be non-legal,

such as giving business advice).

6.     Although Plaintiff herein requests that the Court perform an in camera inspection and rule

upon all privileges and withheld documents and information reflected in the Privilege Log,

Plaintiff acknowledges this would require an enormous undertaking for the Court. In an effort to

reduce the number of privilege challenges, documents attached hereto as Exhibit “C” were isolated

almost entirely from the date of the FDA public health notification - July 13, 2011- to the time of

filing - April 21, 2014 - and includes only those documents withheld by Defendants (i.e. redactions

were excluded), and unrelated to intellectual property or research contracts.      The referenced

documents further relate to major events, time periods, or keywords at issue in the pending

litigation, such as FDA communications, market withdrawal, 522 studies, and preparation for FDA

advisory committee meetings. Plaintiff respectfully requests that the Court perform an in camera

review of those withheld documents and rule upon the asserted privilege.

7.     Nothing herein is intended to be a waiver by Plaintiff of her right to have the Court review

and rule upon all privileges asserted by the Defendant for all documents withheld and identified in

the Privilege Log.


                                                 3
PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
BASED ON ASSERTIONS OF PRIVILEGE
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                                             PRAYER

8.     WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that the

Defendants make a prima facie case for the privileges and that the Court perform an in camera

inspection of the documents and information withheld by Defendants based on assertions of

privilege, as well as such other relief to which Plaintiff may be entitled.


                                                        Respectfully Submitted,

                                                        FREESE & GOSS, PLLC


                                                  By:
                                                        Tim K. Goss
                                                        State Bar No. 08222660
                                                        tim@freeseandgoss.com
                                                        3031 Allen Street, Suite 200
                                                        Dallas, TX 75204
                                                        Telephone: (214) 761-6610
                                                        Facsimile: (214) 761-6688




                                                  4
PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
BASED ON ASSERTIONS OF PRIVILEGE
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                                 CERTIFICATE OF SERVICE


       This will certify that a true and correct copy of the foregoing pleading was served on all
counsel of record in accordance with the Texas Rules of Civil Procedure as follows:

Via Certified Mail, RRR
Philipa Remington
Cathryn Paton
Theibaud, Remington, Thornton, Bailey, LLP
4800 Fountain Place
1445 Ross Avenue
Dallas, TX 75202

Via Certified Mail, RRR
William C. Dunnill
Joel Steed
Steed, Dunnill, Reynolds, Murphy, Lamberth, LLP
One Horizon Ridge
1010 W. Ralph Hall Parkway, Second Floor
Rockwall, TX 75032

Via Certified Mail, RRR
Carol Traylor
Cantey Hanger LLP
600 West 6th Street, Suite 300
Fort Worth, Texas 76102

Certified to the 12th day of December, 2014 by:

                                                      Tim K. Goss



                             CERTIFICATE OF CONFERENCE

        Counsel have conducted a conference regarding the relief requested in this motion. Despite
best efforts, an agreement could not be reached regarding the requested relief.

Certified to the 12th day of December, 2014 by:



                                                      Tim K. Goss




                                                  5
PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
BASED ON ASSERTIONS OF PRIVILEGE
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                                   EXHIBIT A




                                                 6
PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
BASED ON ASSERTIONS OF PRIVILEGE
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                                                 7
PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
BASED ON ASSERTIONS OF PRIVILEGE
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                                   EXHIBIT B




                                                 8
PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
BASED ON ASSERTIONS OF PRIVILEGE
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                                                  9
 PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
 DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
 BASED ON ASSERTIONS OF PRIVILEGE
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                                                 10
 PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
 DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
 BASED ON ASSERTIONS OF PRIVILEGE
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                                    EXHIBIT C




                                                 11
 PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
 DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
 BASED ON ASSERTIONS OF PRIVILEGE
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            PL04113   PL14318   PL24594   PL11944   PL06360   PL06374   PL06841   PL06358   PL06464   PL06476   PL06470   PL15572   PL06200   PL16121   PL15566   PL06346   PL08402
            PL06689   PL14319   PL14294   PL14133   PL06361   PL06375   PL13098   PL06449   PL06465   PL06512   PL06471   PL16103   PL06275   PL16124   PL15569   PL06389   PL13052
            PL20756   PL14320   PL14646   PL06239   PL06362   PL06377   PL13102   PL06458   PL15587   PL06513   PL06472   PL16104   PL06293   PL16610   PL15575   PL06390   PL14137
            PL07654   PL14419   PL13120   PL28418   PL14328   PL13050   PL14134   PL06459   PL16092   PL06843   PL06473   PL16105   PL06294   PL06382   PL15577   PL06808   PL14138
            PL23832   PL14644   PL19309   PL28431   PL16091   PL13116   PL14189   PL06460   PL16093   PL15564   PL06474   PL16107   PL06295   PL06497   PL15578   PL08224   PL14139
            PL08522   PL17524   PL23830   PL28432   PL16097   PL13117   PL14331   PL06461   PL16094   PL15568   PL06475   PL16109   PL06491   PL06498   PL16114   PL14136   PL14156
            PL08524   PL17529   PL13119   PL28434   PL06192   PL16087   PL15586   PL06462   PL16095   PL15571   PL06477   PL16130   PL14135   PL06510   PL16115   PL14154   PL14157
            PL06349   PL17572   PL14123   PL28484   PL06365   PL17175   PL16139   PL06506   PL16098   PL15573   PL06478   PL06304   PL14187   PL06511   PL16117   PL14155   PL17363
            PL06350   PL18059   PL14267   PL05738   PL06366   PL17176   PL16140   PL06507   PL16099   PL15576   PL06479   PL06306   PL14194   PL06514   PL16118   PL06384   PL06392
            PL06351   PL27751   PL06272   PL27743   PL06368   PL17177   PL06355   PL07162   PL16611   PL15580   PL06480   PL06481   PL14269   PL06515   PL16119   PL06385   PL06393
            PL13081   PL14159   PL06273   PL08480   PL06369   PL17498   PL06356   PL14411   PL16612   PL16081   PL06482   PL06825   PL14270   PL06516   PL16145   PL06527   PL14140
            PL14122   PL14160   PL14308   PL08615   PL06370   PL17499   PL06357   PL14466   PL16613   PL16082   PL06483   PL13113   PL14271   PL06517   PL16146   PL06633   PL14141
            PL16599   PL14164   PL18030   PL11940   PL06371   PL04122   PL06450   PL15588   PL19222   PL16083   PL06484   PL14341   PL14276   PL06518   PL16147   PL06807   PL18459
            PL23881   PL18382   PL05614   PL14306   PL06372   PL04123   PL06451   PL15589   PL19223   PL16132   PL06485   PL16127   PL14277   PL06519   PL16148   PL14124   PL14348
            PL23882   PL18404   PL14302   PL14170   PL14114   PL04446   PL06452   PL15590   PL16100   PL16133   PL06486   PL16128   PL14278   PL06520   PL16634   PL14268   PL05784
            PL10941   PL27741   PL06197   PL14310   PL16088   PL04447   PL06453   PL16085   PL16101   PL16144   PL06487   PL16129   PL14279   PL06521   PL16639   PL27745   PL06167
            PL10942   PL05610   PL06241   PL14325   PL16143   PL04448   PL06454   PL16086   PL03046   PL16149   PL06488   PL17493   PL14336   PL06522   PL16643   PL06204   PL06190
            PL18406   PL14292   PL06690   PL06219   PL06177   PL04449   PL06455   PL16089   PL03073   PL16601   PL06489   PL17495   PL14346   PL06523   PL16646   PL07483   PL06191
            PL18407   PL14296   PL11945   PL06220   PL06179   PL04452   PL06456   PL16090   PL03074   PL16602   PL06490   PL17496   PL15563   PL13111   PL16654   PL07602   PL11939
            PL08269   PL14298   PL14147   PL14460   PL06180   PL04476   PL06505   PL16142   PL16136   PL06299   PL06824   PL19312   PL15570   PL14192   PL17494   PL07750   PL11955
            PL05556   PL14300   PL16151   PL14461   PL06181   PL04477   PL16084   PL06297   PL16137   PL06300   PL11950   PL19313   PL15574   PL14273   PL06499   PL07780   PL14117
            PL10943   PL17511   PL04577   PL14462   PL06182   PL06242   PL06457   PL06298   PL16138   PL06301   PL11951   PL03047   PL15581   PL14340   PL06718   PL07882   PL14118
            PL10944   PL18067   PL06198   PL14463   PL06325   PL06246   PL06508   PL06359   PL17173   PL06329   PL11953   PL03048   PL15584   PL15518   PL06343   PL08006   PL14144
            PL14131   PL24429   PL06263   PL17513   PL06367   PL06296   PL16141   PL06376   PL06466   PL06468   PL13112   PL03078   PL16110   PL15561   PL06344   PL08159   PL18060
            PL14199   PL24593   PL06326   PL06189   PL06373   PL06448   PL16603   PL06463   PL06467   PL06469   PL15567   PL03079   PL16112   PL15565   PL06345   PL08355   PL11923
            PL14413   PL12286   PL14353   PL06432   PL16155   PL11928   PL20111   PL07148   PL13066   PL11770   PL12616   PL06628   PL06802   PL15828   PL21592   PL23857   PL06605
            PL18358   PL06244   PL07683   PL06433   PL16157   PL12175   PL20113   PL08194   PL14377   PL11772   PL12723   PL06629   PL12361   PL15829   PL21593   PL27455   PL12484
            PL14415   PL06253   PL14417   PL06434   PL16158   PL12233   PL11685   PL06676   PL14587   PL12744   PL14606   PL06631   PL12362   PL15830   PL21665   PL27456   PL12485
            PL14478   PL06254   PL23751   PL06435   PL06233   PL12276   PL11686   PL14547   PL14588   PL15532   PL14609   PL06632   PL12363   PL15831   PL21666   PL27457   PL15848
            PL06186   PL06255   PL06212   PL06436   PL06234   PL12309   PL11817   PL14548   PL14594   PL15795   PL14611   PL06691   PL14617   PL15832   PL21667   PL27458   PL15849
            PL06187   PL06402   PL06291   PL06437   PL06235   PL12317   PL11818   PL14315   PL14598   PL15797   PL14612   PL06692   PL14618   PL15833   PL21839   PL27459   PL18324
            PL00595   PL06403   PL08333   PL06438   PL06236   PL12357   PL14365   PL05696   PL14605   PL27508   PL14615   PL06693   PL14619   PL15834   PL21841   PL27460   PL18325
            PL06397   PL06404   PL06214   PL06439   PL11963   PL12359   PL04617   PL05697   PL15792   PL06550   PL14625   PL06700   PL14620   PL15835   PL21842   PL27461   PL06785
            PL12176   PL06405   PL06247   PL06440   PL14355   PL12545   PL26541   PL06704   PL16596   PL15810   PL15798   PL06701   PL14621   PL15836   PL21843   PL27462   PL11746
            PL18697   PL06408   PL14354   PL06441   PL14356   PL12729   PL26543   PL14370   PL17567   PL16228   PL15801   PL06702   PL14622   PL15837   PL21910   PL06630   PL12250
            PL18698   PL13077   PL06172   PL06442   PL16156   PL12734   PL26545   PL14371   PL17964   PL21844   PL15805   PL06721   PL14623   PL15838   PL21911   PL06784   PL17948
            PL06195   PL14350   PL06248   PL06443   PL03044   PL06224   PL26547   PL14374   PL23828   PL21909   PL11662   PL06722   PL14624   PL17587   PL21912   PL17594   PL17950
            PL06211   PL14351   PL08542   PL06809   PL03045   PL06256   PL26646   PL14375   PL12301   PL27471   PL11762   PL06723   PL15815   PL17588   PL21913   PL11140   PL11730
            PL06396   PL20301   PL11961   PL06810   PL06194   PL06257   PL26647   PL14591   PL08526   PL27510   PL17960   PL06724   PL15816   PL17589   PL21914   PL11142   PL11743
            PL14119   PL27750   PL11962   PL06811   PL14120   PL06265   PL26648   PL14592   PL11774   PL06547   PL06552   PL06725   PL15817   PL17590   PL21915   PL11659   PL12237
            PL18062   PL06407   PL16709   PL14197   PL06237   PL06264   PL26650   PL14627   PL11775   PL06551   PL06553   PL06726   PL15818   PL17591   PL21916   PL11759   PL12360
            PL27397   PL06406   PL17192   PL14274   PL06502   PL06503   PL26668   PL14628   PL12727   PL06567   PL06563   PL06727   PL15819   PL17592   PL22218   PL11820   PL15846
            PL27398   PL06409   PL06426   PL16154   PL06175   PL06504   PL26669   PL14629   PL14596   PL06684   PL06564   PL06728   PL15820   PL17593   PL22219   PL17958   PL06836
            PL27472   PL06410   PL08541   PL06213   PL06331   PL12556   PL08080   PL07508   PL14597   PL06687   PL06579   PL06729   PL15821   PL21569   PL23180   PL20705   PL06844
            PL27473   PL06411   PL06277   PL06444   PL11924   PL12557   PL23682   PL14243   PL12171   PL06688   PL06580   PL06786   PL15822   PL21570   PL23181   PL21591   PL06845
            PL06398   PL14352   PL06427   PL06445   PL11925   PL14362   PL26544   PL06705   PL08622   PL08525   PL06581   PL06787   PL15823   PL21571   PL23182   PL21594   PL07632
            PL06399   PL16194   PL06428   PL06446   PL11926   PL14363   PL26546   PL11666   PL14558   PL08740   PL06582   PL06788   PL15824   PL21572   PL23183   PL21901   PL06752
            PL14349   PL27747   PL06429   PL06193   PL16161   PL12722   PL26645   PL11779   PL14559   PL12166   PL06583   PL06789   PL15825   PL21588   PL23184   PL22061   PL06753
            PL06400   PL27748   PL06430   PL14196   PL07147   PL20029   PL26649   PL12229   PL25619   PL12194   PL06584   PL06800   PL15826   PL21589   PL23185   PL22062   PL06754
            PL06401   PL06670   PL06431   PL15550   PL08487   PL20110   PL07145   PL12267   PL11765   PL12299   PL06627   PL06801   PL15827   PL21590   PL23186   PL06604   PL07836

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PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
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            PL11633   PL12653   PL06755   PL12596   PL12223   PL12652   PL11708   PL17903   PL11700   PL12610   PL12699   PL16386   PL16690   PL20116   PL23864   PL25628   PL14917
            PL11635   PL12739   PL06756   PL12682   PL12261   PL06762   PL12348   PL17907   PL12154   PL12611   PL15517   PL16387   PL16691   PL20710   PL24469   PL25630   PL15876
            PL11718   PL12761   PL06757   PL15861   PL12597   PL06764   PL12598   PL17910   PL12225   PL12631   PL15553   PL16388   PL16692   PL20788   PL24471   PL25631   PL28204
            PL11721   PL16403   PL06758   PL16537   PL16401   PL11624   PL12724   PL05693   PL12226   PL12632   PL15870   PL16398   PL16693   PL20789   PL25620   PL28188   PL28205
            PL12152   PL17916   PL06759   PL17870   PL17898   PL11625   PL15531   PL05694   PL12227   PL12633   PL15872   PL16399   PL16694   PL23858   PL25622   PL28189   PL06609
            PL12160   PL17924   PL06760   PL17901   PL17899   PL11702   PL15551   PL05695   PL12280   PL12639   PL15873   PL16535   PL16695   PL23859   PL25623   PL28190   PL15874
            PL12262   PL17926   PL12151   PL27142   PL17902   PL11703   PL15854   PL06766   PL12281   PL12640   PL15875   PL16659   PL16696   PL23860   PL25624   PL28201   PL17561
            PL12477   PL17929   PL12327   PL06735   PL17919   PL11704   PL15858   PL06767   PL12282   PL12641   PL15878   PL16660   PL16697   PL23861   PL25625   PL28202   PL17877
            PL12561   PL20709   PL12334   PL06782   PL12367   PL11705   PL17897   PL06772   PL12310   PL12697   PL15879   PL16661   PL18361   PL23862   PL25626   PL28203   PL17999
            PL12629   PL06608   PL12526   PL11712   PL12628   PL11707   PL17900   PL11699   PL12311   PL12698   PL16339   PL16662   PL20115   PL23863   PL25627   PL14916   PL18000
            PL18438   PL15967   PL16698   PL27976   PL12470   PL19400   PL19376   PL25090   PL20792   PL12985   PL06708   PL11639   PL12305   PL15775   PL16113   PL02013   PL28115
            PL20480   PL16381   PL16699   PL28104   PL14831   PL14868   PL19377   PL25228   PL06747   PL13859   PL14557   PL11727   PL17914   PL15776   PL06305   PL02014   PL25332
            PL23172   PL16389   PL16702   PL28105   PL14885   PL14869   PL19378   PL25353   PL17180   PL23968   PL14595   PL12274   PL15885   PL15944   PL06307   PL03160   PL25343
            PL15871   PL16390   PL16703   PL28135   PL14886   PL14870   PL19389   PL28068   PL06748   PL23969   PL14601   PL17935   PL15886   PL19381   PL06308   PL13781   PL25344
            PL06773   PL16391   PL16705   PL28177   PL14887   PL14871   PL19390   PL28117   PL13060   PL23970   PL14589   PL15864   PL15887   PL19399   PL06310   PL03109   PL25345
            PL06774   PL16393   PL16706   PL28178   PL14888   PL14872   PL19391   PL26830   PL17840   PL06703   PL14590   PL02546   PL15890   PL27239   PL13110   PL03154   PL25346
            PL06775   PL16394   PL17418   PL28179   PL14889   PL15765   PL19392   PL28388   PL17841   PL13071   PL14599   PL02634   PL15891   PL27240   PL14338   PL03198   PL28108
            PL11852   PL16395   PL17894   PL28180   PL14899   PL15766   PL19393   PL28492   PL17842   PL11665   PL14593   PL12242   PL15893   PL20316   PL16126   PL11958   PL28109
            PL12210   PL16397   PL17895   PL28181   PL14900   PL15927   PL19121   PL28493   PL17984   PL11777   PL14602   PL12599   PL15909   PL20317   PL06314   PL11956   PL28111
            PL12328   PL16408   PL18764   PL28182   PL15537   PL15928   PL19122   PL28494   PL17985   PL11778   PL14603   PL16199   PL16414   PL02130   PL06315   PL11957   PL07233
            PL12355   PL16409   PL23187   PL28184   PL15540   PL15929   PL19123   PL28495   PL14407   PL12197   PL14604   PL11711   PL16416   PL02131   PL14335   PL04025   PL16159
            PL12666   PL16410   PL23188   PL28185   PL12627   PL15934   PL20360   PL28551   PL13055   PL12215   PL16163   PL12196   PL16412   PL11941   PL14337   PL26558   PL11965
            PL15527   PL16425   PL23189   PL28186   PL14892   PL15951   PL15668   PL28555   PL13057   PL12239   PL11773   PL12368   PL16413   PL11942   PL16111   PL15992   PL12376
            PL15528   PL16426   PL24436   PL28187   PL14893   PL17886   PL14933   PL28593   PL13056   PL12352   PL14600   PL11710   PL06352   PL11943   PL06311   PL14898   PL21152
            PL15555   PL16657   PL24437   PL28191   PL12528   PL19395   PL15660   PL28500   PL13797   PL12246   PL17961   PL12350   PL06353   PL06223   PL06312   PL23752   PL21181
            PL15560   PL16658   PL24438   PL28192   PL16417   PL15958   PL15718   PL28594   PL23795   PL20129   PL06565   PL20112   PL06354   PL00196   PL06313   PL06173   PL14634
            PL15562   PL16666   PL24439   PL28193   PL16418   PL15955   PL16451   PL28595   PL28496   PL20130   PL06566   PL12345   PL27194   PL06199   PL02605   PL16203   PL00220
            PL15627   PL16667   PL24456   PL28194   PL07919   PL15956   PL20713   PL12293   PL28552   PL06706   PL06710   PL11127   PL27195   PL15960   PL07270   PL06221   PL14361
            PL15642   PL16669   PL24473   PL28195   PL15915   PL15957   PL15641   PL00278   PL28553   PL06707   PL24595   PL12318   PL25286   PL14332   PL07977   PL06222   PL11930
            PL15767   PL16670   PL24514   PL28196   PL15942   PL15970   PL15721   PL10286   PL28497   PL14280   PL24616   PL15863   PL25287   PL17497   PL06289   PL06292   PL06340
            PL15768   PL16671   PL24608   PL28197   PL07479   PL15971   PL28133   PL08667   PL28498   PL16546   PL14022   PL17917   PL27196   PL06183   PL06394   PL06339   PL12275
            PL15880   PL16672   PL25333   PL28198   PL06554   PL15972   PL28134   PL06500   PL28499   PL17962   PL15807   PL17918   PL15777   PL06184   PL06274   PL28008   PL12316
            PL15882   PL16674   PL25334   PL28199   PL11118   PL15973   PL18823   PL11681   PL28554   PL17963   PL11767   PL12183   PL15949   PL06185   PL02328   PL25351   PL12467
            PL15883   PL16675   PL25335   PL28200   PL21684   PL15974   PL28130   PL11811   PL28556   PL16547   PL12746   PL12289   PL15773   PL16102   PL02345   PL28066   PL12493
            PL15884   PL16676   PL25336   PL06610   PL06652   PL15975   PL28131   PL20793   PL28501   PL16548   PL06790   PL15852   PL15774   PL16861   PL02346   PL28110   PL12613
            PL15892   PL16677   PL25337   PL06611   PL06838   PL15976   PL28132   PL11680   PL28502   PL16550   PL11640   PL15862   PL18334   PL16106   PL11954   PL28112   PL12531
            PL15894   PL16678   PL25338   PL12475   PL06839   PL15977   PL25350   PL11806   PL28503   PL16549   PL11641   PL17912   PL18431   PL16108   PL06210   PL28118   PL12549
            PL15930   PL16679   PL25365   PL06783   PL15950   PL15978   PL28065   PL11807   PL28557   PL14555   PL11728   PL11629   PL06653   PL06260   PL14142   PL25331   PL12779
            PL15964   PL16685   PL25366   PL14884   PL15935   PL15979   PL28114   PL11808   PL28558   PL14556   PL11729   PL12159   PL06654   PL06261   PL02011   PL25347   PL12534
            PL15965   PL16686   PL27974   PL14915   PL15945   PL15980   PL20362   PL11809   PL28559   PL17520   PL11623   PL06694   PL19380   PL06262   PL02012   PL25349   PL06225
            PL06226   PL07132   PL12356   PL12671   PL06287   PL07461   PL12544   PL14360   PL12174   PL00189   PL12728   PL06243   PL12232   PL00179   PL12479   PL06252   PL12288
            PL06286   PL07175   PL12358   PL12775   PL06288   PL06805   PL12604   PL06176   PL12206   PL00190   PL12733   PL06251   PL12235   PL06238   PL12540   PL06342   PL12308
            PL06555   PL12555   PL06341   PL15953   PL12570   PL12568




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PLAINTIFF’S MOTION FOR IN CAMERA INSPECTION OF WITHHELD
DOCUMENTS BY DEFENDANTS JOHNSON & JOHNSON AND ETHICON, INC.
BASED ON ASSERTIONS OF PRIVILEGE
